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                      Counterdefendant Aerial West, LLC
                    8
                    9                      UNITED STATES DISTRICT COURT
                 10         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                 11
                 12 AERIAL WEST, LLC,                             Case No. 2:18-cv-02288-JAK-SS
                 13               Plaintiff and
                                  Counterdefendant,               AERIAL WEST, LLC’S ANSWER
                 14                                               AND AFFIRMATIVE DEFENSES
                            v.                                    TO COUNTERCLAIM FOR
                 15                                               DECLARATION OF INVALIDITY
                    DRONE WORLD, LLC, STEPHEN                     OF TRADEMARK,
                 16 PAUL MCKENNA, and DOES 1-10,                  DECLARATION OF INVALIDITY
                    Inclusive,                                    OF TRADE DRESS, AND BREACH
                 17                                               OF WARRANTY OF
                               Defendants and                     MERCHANTABILITY
                 18            Counterclaimants.
                 19
                 20
                 21         Pursuant to Rule 8(b) of the Federal Rules of Civil Procedure, Plaintiff and
                 22 Counterdefendant Aerial West, LLC (“Counterdefendant”) hereby responds to the
                 23 Counterclaim filed by Defendants and Counterclaimants Drone World, LLC, and
                 24 Stephen Paul McKenna (“Counterclaimants”), using like-numbered paragraphs. If
                 25 an allegation is not specifically admitted, it is hereby denied.
                 26 ///
                 27 ///
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                    1                       ANSWER TO THE COUNTERCLAIM
                    2                             NATURE OF THE ACTION
                    3        1.     No response is required for Paragraph 1 because it contains legal
                    4 assertions or legal conclusions. To the extent that a response is required,
                    5 Counterdefendant admits this Counterclaim asserts that it arises under the Lanham
                    6 Act, 15 U.S.C. § 1051, et seq., and Federal and California common law, but denies
                    7 that the Counterclaim states valid claims under those laws.
                    8                            JURISDICTION AND VENUE
                    9        2.     No response is required for Paragraph 2 because it contains legal
                 10 assertions or legal conclusions. To the extent that a response is required,
                 11 Counterdefendant admits this Court has subject matter jurisdiction over this
                 12 Counterclaim.
                 13                                         PARTIES
                 14          3.     Answering Paragraph 3, Counterdefendant admits the allegations thereof.
                 15          4.     Answering Paragraph 4, Counterdefendant lacks knowledge or
                 16 information sufficient to form a belief about the truth of its allegations.
                 17          5.     Answering Paragraph 5, Counterdefendant denies that it is a
                 18 corporation, and admits the remaining allegations.
                 19                               GENERAL ALLEGATIONS
                 20          6.     Answering Paragraph 6, Counterdefendant admits on information and
                 21 belief that Da-Jiang is a Chinese company that does business as DJI in the United
                 22 States, and that it manufactures and sells products commonly referred to as
                 23 “drones,” that include the “Mavic” series in addition to others. Except as admitted,
                 24 Counterdefendant lacks knowledge or information sufficient to form a belief about
                 25 the truth of the remaining allegations.
                 26          7.     Answering Paragraph 7, Counterdefendant admits on information and
                 27 belief that a company by the name of SZ DJI Technology Co., Ltd. is listed on the
                 28 United States Patent and Trademark Office database as one of the registrants for a

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                    1 MAVIC trademark, including Registration No. 5,229,553 for “goods and services”
                    2 that include “unmanned aerial vehicles (UAVs)” and “Accessories for robotic
                    3 aircraft,” among many others. Except as expressly admitted, Counterdefendant
                    4 denies any other allegations.
                    5        8.     Answering Paragraph 8, Counterdefendant lacks knowledge or
                    6 information sufficient to form a belief about the truth of its allegations.
                    7        9.     Answering Paragraph 9, Counterdefendant admits and avers that it has
                    8 designed, sold and sells products under its MAVMOUNT trademark and according to
                    9 its trade dress as alleged in the Complaint in this matter (incorporated herein by
                 10 reference); and that it is knowledgeable about and experienced with the products it
                 11 sells; Counterdefendant denies the remaining allegations, and specifically denies that
                 12 the term “mav mount” is a generic or descriptive term; that “MAV” is a commonly
                 13 used term and understood to refer to “drones,” and that Counterclaimants’ use of
                 14 Counterdefendant’s trademark MAVMOUNT was a generic, descriptive or fair use
                 15 of Counterdefendant’s MAVMOUNT trademark; Counterdefendant also avers that its
                 16 products are not a “mount” for a drone or any other vehicle, manned or unmanned.
                 17          10.    Answering Paragraph 10, Counterdefendant admits that
                 18 Counterclaimant Drone World purchased authentic MAVMOUNT brand products
                 19 from Counterdefendant; and denies the remaining allegations, and specifically
                 20 denies that it sold products that had a defective design, manufacture or function to
                 21 Counterclaimant Drone World or to any other customer; and Counterdefendant
                 22 avers that Counterclaimants’ counterfeiting conduct in slavishly copying the trade
                 23 dress of Counterdefendant’s MAVMOUNT products, and selling those counterfeit
                 24 products under the trademark MAVMOUNT, belie the allegations in this paragraph
                 25 -- why would Counterclaimants want to sell counterfeits of a product they now
                 26 allege to be “defective”?
                 27          11.    Answering Paragraph 11, Counterdefendant lacks knowledge or
                 28 information sufficient to form a belief about the truth of the allegations contained

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                    1 therein; but avers that its own return rate has been miniscule; and further avers that
                    2 Counterclaimants’ counterfeiting conduct in slavishly copying the trade dress of
                    3 Counterdefendant’s MAVMOUNT products, and selling those counterfeit products
                    4 under the trademark MAVMOUNT, belie the allegations in this paragraph -- why
                    5 would Counterclaimants want to sell counterfeits of a product they now allege to be
                    6 “defective” and were subject to the alleged high return rate?
                    7        12.    Answering Paragraph 12, Counterdefendant denies each and every
                    8 allegation contained therein; and avers that Counterclaimants did not raise the issues
                    9 alleged before cancelling their order for more authentic MAVMOUNT brand
                 10 products as alleged in the Complaint (incorporated herein by reference) or before the
                 11 Complaint was filed, and further avers that Counterclaimants’ counterfeiting
                 12 conduct in slavishly copying the trade dress of Counterdefendant’s MAVMOUNT
                 13 products, and selling those counterfeit products under the trademark MAVMOUNT,
                 14 belie the allegations in this paragraph -- why would Counterclaimants want to sell
                 15 counterfeits of a product they now allege to be “defective”?
                 16          13.    Answering Paragraph 13, Counterdefendant denies its allegations; and
                 17 avers that Counterdefendant’s allegations against Counterclaimants arose long after
                 18 Counterclaimants cancelled their order for more authentic MAVMOUNT brand
                 19 products from Counterdefendant, and were in response to Counterclaimants’
                 20 counterfeiting activities.
                 21          14.    Answering Paragraph 14, Counterdefendant admits that
                 22 Counterclaimants make the assertions stated, but denies that the assertions have
                 23 merit; and avers that the assertions have not been made in good faith, but merely as
                 24 a baseless, knee-jerk reaction to the Complaint.
                 25          15.    Answering Paragraph 15, Counterdefendant admits that
                 26 Counterclaimants make the assertions stated, but denies that the assertions have
                 27 merit; and avers that the assertions have not been made in good faith, but merely as
                 28 a baseless, knee-jerk reaction to the Complaint.

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                    1        16.    Answering Paragraph 16, Counterdefendant admits that
                    2 Counterclaimants make the assertions stated, but denies that the assertions have
                    3 merit; and avers that the assertions have not been made in good faith, but merely as
                    4 a baseless, knee-jerk reaction to the Complaint.
                    5                    RESPONSE TO FIRST CLAIM OF RELIEF
                    6                       (Declaration of Invalidity of Trademark)
                    7        17.    Counterdefendant incorporates by reference Paragraphs 1-16, as though
                    8 fully set forth herein.
                    9        18.    Answering Paragraph 18, Counterdefendant denies each and every
                 10 allegation contained therein.
                 11          19.    Answering Paragraph 19, Counterdefendant admits there is a
                 12 substantial controversy as between the parties (see the Complaint incorporated
                 13 herein by reference); but denies that there is a good faith controversy as to the
                 14 allegations of the Counterclaims.
                 15          20.    Answering Paragraph 20, Counterdefendant admits that it has filed a
                 16 Complaint against Counterclaimants seeking judicial relief, but denies that
                 17 Counterclaimants are entitled to any relief on their Counterclaims, which
                 18 Counterdefendant avers are meritless as alleged above.
                 19                    RESPONSE TO SECOND CLAIM FOR RELIEF
                 20                         (Declaration of Invalidity of Trade Dress)
                 21          21.    Counterdefendant incorporates by reference Paragraphs 1-20, as though
                 22 fully set forth herein.
                 23          22.    Answering Paragraph 22, Counterdefendant denies each and every
                 24 allegation contained therein.
                 25          23.    Answering Paragraph 23, Counterdefendant admits there is a
                 26 substantial controversy as between the parties (see the Complaint, incorporated
                 27 herein by reference); but denies that there is a good faith controversy as to the
                 28 allegations of the Counterclaims.

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                    1        24.    Answering Paragraph 24, Counterdefendant admits that it has filed a
                    2 Complaint against Counterclaimants seeking judicial relief, but denies that
                    3 Counterclaimants are entitled to any relief on their Counterclaims, which
                    4 Counterdefendant avers are meritless as alleged above.
                    5                   RESPONSE TO THIRD CLAIM FOR RELIEF
                    6          (Breach of Warranty of Merchantability by Drone World LLC)
                    7        25.    Counterclaimants incorporate by reference Paragraphs 1-24, as though
                    8 fully set forth herein.
                    9        26.    Answering Paragraph 26, Counterdefendant admits that it sold to
                 10 Counterclaimants products under Counterdefendant’s MAVMOUNT trademark;
                 11 avers that its products are not a “mount” for a drone or any other vehicle, manned or
                 12 unmanned; and denies all other allegations.
                 13          27.    Answering Paragraph 27, Counterdefendant admits that
                 14 Counterdefendant was and is in the business of selling MAVMOUNT brand
                 15 products that it designed, and considers itself to be knowledgeable about those
                 16 products; Counterdefendant lacks information or belief as to what Counterclaimants
                 17 mean by the phrase “special knowledge or skill” and therefore lacks knowledge or
                 18 information sufficient to form a belief as to the truth of the allegation that
                 19 Counterdefendant “held itself out as having special knowledge or skill regarding the
                 20 goods purchased.” Except as expressly admitted herein, Counterdefendant denies
                 21 each and every other allegation.
                 22          28.    Answering Paragraph 28, Counterdefendant denies each and every
                 23 allegation contained therein.
                 24          29.    Answering Paragraph 29, Counterdefendant denies each and every
                 25 allegation contained therein.
                 26          30.    Answering Paragraph 30, Counterdefendant denies each and every
                 27 allegation contained therein.
                 28 ///

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                    1        31.    Answering Paragraph 31, Counterdefendant denies each and every
                    2 allegation contained therein.
                    3                             AFFIRMATIVE DEFENSES
                    4        Counterdefendant pleads the following separate defenses. Counterdefendant
                    5 reserves the right to assert additional affirmative defenses that discovery indicates
                    6 are proper.
                    7                          FIRST AFFIRMATIVE DEFENSE
                    8                                 (Failure to State a Claim)
                    9        As a separate and first affirmative defense to the Counterclaim, and to each
                 10 purported claim for relief set forth therein, Counterdefendant alleges that the
                 11 Counterclaim fails to state facts sufficient to constitute a cause of action.
                 12                          SECOND AFFIRMATIVE DEFENSE
                 13                                    (No Injury or Damage)
                 14          As a separate and second affirmative defense to the Counterclaim and each
                 15 purported claim for relief contained therein, Counterdefendant alleges that
                 16 Counterclaimants have not been injured or damaged as a proximate result of any act
                 17 or omission for which Counterdefendant is responsible.
                 18                           THIRD AFFIRMATIVE DEFENSE
                 19                                    (Waiver and Estoppel)
                 20          As a separate and third affirmative defense to the Counterclaim and each
                 21 purported claim for relief contained therein, Counterdefendant alleges that as a
                 22 result of their own acts and/or omissions, Counterclaimants have waived any right
                 23 which they may have had to recover, and/or are estopped from recovering, any relief
                 24 sought against Counterdefendant.
                 25                          FOURTH AFFIRMATIVE DEFENSE
                 26                                       (Unclean Hands)
                 27          As a separate and fourth affirmative defense to the Counterclaim and each
                 28 purported claim for relief contained therein, Counterdefendant alleges that

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                    1 Counterclaimants are barred in whole or in part from prosecuting the purported
                    2 claims for relief set forth in the Counterclaim by the doctrine of unclean hands.
                    3                         FIFTH AFFIRMATIVE DEFENSE
                    4                                      (Willfulness)
                    5        As a separate and fifth affirmative defense to the Counterclaim and each
                    6 purported claim for relief contained therein, Counterdefendant alleges that
                    7 Counterclaimants, in bringing their Counterclaim, have acted willfully, maliciously,
                    8 and in bad faith, entitling Counterdefendant to a dismissal of the Counterclaim
                    9 against it and to recovery of Counterdefendant’s attorney’s fees.
                 10                                 PRAYER FOR RELIEF
                 11          WHEREFORE, Counterdefendant prays for relief as follows:
                 12          1.     that the Counterclaim be dismissed, with prejudice and in its entirety;
                 13          2.     that Counterclaimants take nothing by reason of this Counterclaim and
                 14 that judgment be entered against Counterclaimants and in favor of
                 15 Counterdefendant;
                 16          3.     that Counterdefendant be awarded its costs and attorney fees incurred
                 17 in defending this action; and
                 18          4.     that Counterdefendant be granted such other and further relief as the
                 19 Court may deem just and proper.
                 20
                 21 Dated: June 27, 2018                         Respectfully submitted,
                 22
                                                                 ZUBER LAWLER & DEL DUCA LLP
                 23                                              ROBERT W. DICKERSON
                                                                 THOMAS F. ZUBER
                 24
                                                                 MEREDITH A. SMITH
                 25
                                                           By:         /s/ Robert W. Dickerson
                 26
                                                                 Attorneys for Plaintiff and
                 27                                              Counterdefendant Aerial West, LLC
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